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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

KAYLA M. BRADY, et al.                                       Civil Case No.: 8:21-cv-01412-CBD

       Plaintiffs,

       v.

WALMART INC. et al.,

       Defendants.


     PLAINTIFFS’ NOTICE OF CONSTITUTIONAL CHALLENGE OF STATUTE

Plaintiffs, KAYLA BRADE, individually and as the Personal Representative of the ESTATE OF

JACOB MACE, CHRISTOPHER CLARK, GRAYSON MACE, DEBRA MCCREARY, and

MARK MACE, by and through their undersigned counsel, respectfully files this Notice of

Constitutional Challenge with the Court. In support thereof, Plaintiff show as follows:

       1. This action was instituted by Plaintiff on April 27, 2021.

       2. By certified letter dated October 26, 2021, Plaintiff provided the Attorney General of

the United States with a copy of the Summonses and Complaint in this action and Plaintiffs’

brief challenging the constitutionality of the Protection of Lawful Commerce in Arms Act

(PLCAA), 15 U.S.C. § 7901, et seq. A true and correct copy of that Notice is attached hereto as

Exhibit A. In that letter, Plaintiff communicated that he was serving a copy of the Summons

and Complaint and Plaintiffs’ brief on the Attorney General and the Complaint challenged the

constitutionality of a federal statute. The letter also communicated that the Complaint was filed

against Walmart, Inc. and another Walmart entity, but neither the United States, nor one of its

agencies, officers or employees had been named as a Defendant.




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                                               /s/ Kevin P. Sullivan___________________
                                               Kevin P. Sullivan, Esq., Fed Bar #27506
                                               Daniel P. Stringer, Esq., Fed Bar #19243
                                               SALSBURY SULLIVAN, LLC
                                               100 N. Charles Street, Suite 900
                                               Baltimore, MD 21201
                                               Ph: (443) 869-3920
                                               ksullivan@salsburysullivanlaw.com
                                               dstringer@salsburysullivanlaw.com

                                               Jonathan E. Lowy, Esq., Pro Hac Vice
                                               Brady, United Against Gun Violence
                                               840 First Street NE, Suite 400
                                               Washington, DC 20002
                                               Ph: (202) 370-8104
                                               jlowy@bradyunited.org
                                               Attorneys for Plaintiffs

                                 CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on this 28th day of October, 2021, a copy of the foregoing

Plaintiffs’ Notice of Constitutional Challenge of Statute, was electronically filed and served on:

       Kevin C. Schiferl, Esq.
       Stephanie V. McGowan, Esq.
       Adam S. Ira, Esq.
       FROST BROWN TODD, LLC
       201 North Illinois Street, Suite 1900
       PO Box 44961
       Indianapolis, IN 46244-0961
       kschiferl@fbtlaw.com
       smcgowan@fbtlaw.com
       aira@fbtlaw.com

       Christopher R. Dunn, Esq.
       DeCaro, Doran, Siciliano, Gallagher & DeBlasis, LLP
       17251 Melford Blvd., Suite 200
       Bowie, MD 20715
       cdunn@decarodoran.com
       Attorneys for Defendants

                                               /s/ Kevin P. Sullivan___________________
                                               Kevin P. Sullivan, Esq., Fed Bar #27506

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